Case 1:22-cr-20104-JEM Document 207-2 Entered

  

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Source Info:
userdata (ExtX)/Root/data/com.whatsapp/databases/msgstore db : 0x252924E4 (Table:
messages, chat_list, Size: 650801152 bytes)

userdata (ExtX)/Root/data/com.whatsapp/shared_prefs/com.whatsapp_preferences_light.xml :
0x2862 (Size: 12067 bytes)
userdata (ExtX)/Root/data/com.whatsapp/databases/wa db-wal : 0x3E599 (Table:
wa_contacts, Size: 519152 bytes)

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userdata (ExtX)/Root/data/com.whatsapp/databases/msgstore db : 0x25326185 (Table:
messages. chat_list, Size: 650801152 bytes)

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0x2862 (Size: 12067 bytes)

userdata (ExtX)/Root/data/com.whatsapp/databases/wa db-wal : 0x3E599 (Table:
wa_contacts, Size: 519152 bytes)
userdata (Extx)/Root/media/0/Wha itsApp/Media/WhatsApp Images/Sent/IMG-20210427-

WA0029 jpg : (Size: 127482 bytes)

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Case 1:22-cr-20104-JEM Document 207-2 Entered

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Source Info:
userdata (ExtX)/Root/data/com.whatsapp/databases/msgstore db : OxDFF48CC (Table:
messages, chat_list, Size: 650801152 bytes)

userdata (ExtX)/Root/data/com.whatsapp/shared_prefs/com.whatsapp_preferences_light.xml :
0x2862 (Size: 12067 bytes)

userdata (Ext whatsapp/databases/wa db-wal : 0x3E599 (Table:

( /Root/data/com
wa_contacts, Size: 519152 bytes)
userdata (ExtX)/Root/media/0/WhatsApp/Media/WhatsApp Video/Sent/V D-20210505-

WA0156.mp4 : (Size: 59915269 bytes)

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userdata (ExtX)/Root/data/com.whatsapp/databases/msgstore db : 0x252C725F (Table:
call_log, Size: 650801152 bytes)
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(ExtX)/Root/data/com.whatsapp/shared_prefs/com.whatsapp_preferences_light.xml =
0x2862 (Size: 12067 bytes)

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Source Info:

userdata (ExtX)/Root/data/com.whatsapp/databases/msgstore.db : 0x25465C9C (Table: messages, chat_list, Size: 650801152 bytes)
userdata (ExtX)/Root/data/com.whatsapp/shared_prefs/com.whatsapp_preferences_light xml : 0x2862 (Size: 12067 bytes)

userdata (ExtX)/Root/data/com whatsapp/databases/wa.db-wal : 0x3E599 (Table: wa_contacts, Size: 519152 bytes)

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